                             United States Court of Appeals
                                     For The Eighth Circuit
                                     Thomas F. Eagleton U.S. Courthouse
                                     111 South 10th Street, Room 24.329
                                   St. Louis, Missouri 63102
                                                                             VOICE (314) 244-2400
Michael E. Gans
                                                                               FAX (314) 244-2780
 Clerk of Court
                                                                             www.ca8.uscourts.gov

                                                           May 05, 2023


Mr. Vadim A. Glozman
LAW OFFICES OF VADIM A. GLOZMAN
Suite 1128
53 W. Jackson Boulevard
Chicago, IL 60604

         RE: 22-1801 United States v. Haitao Xiang

Dear Mr. Glozman:

       The court has issued an opinion in this case. Judgment has been entered in accordance
with the opinion.

        Please review Federal Rules of Appellate Procedure and the Eighth Circuit Rules on post-
submission procedure to ensure that any contemplated filing is timely and in compliance with the
rules. Note particularly that petitions for rehearing and petitions for rehearing en banc must be
received in the clerk's office within 14 days of the date of the entry of judgment. Counsel-filed
petitions must be filed electronically in CM/ECF. Paper copies are not required. Except as
provided by Rule 25(a)(2)(iii) of the Federal Rules of Appellate Procedure, no grace period for
mailing is allowed. Any petition for rehearing or petition for rehearing en banc which is not
received within the 14 day period for filing permitted by FRAP 40 may be denied as untimely.

                                                           Michael E. Gans
                                                           Clerk of Court

BNW

Enclosure(s)

cc:      Mr. Kyle Timothy Bateman
         Mr. Esha Bhandari
         Mr. Bruce David Brown
         Ms. Gwendolyn E. Carroll
         Mr. Grayson Clary
         Mr. Matthew T. Drake
         Mr. Evan Falcon
         Mr. Matthew Paul Kralovec
         Ms. Stephanie Krent
         Mr. Gregory J. Linhares
         Ms. Jennifer Pinsof


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   Mr. Gabriel Rottman
   Mr. Adam Louis Small
   Mr. Jeffrey Michael Smith
   Ms. KatieLynn B. Townsend
   Mr. Nathan Freed Wessler
   Mr. Scott Wilkens
   Mr. Haitao Xiang
   Ms. Hannah Zhao

     District Court/Agency Case Number(s): 4:19-cr-00980-HEA-1




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